                 Case 1-17-45950-cec              Doc 15        Filed 05/05/18          Entered 05/06/18 00:19:53

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 17-45950-cec
Michael J Dorso                                                                                            Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: admin                        Page 1 of 1                          Date Rcvd: May 03, 2018
                                      Form ID: 318DF7                    Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 05, 2018.
db              Michael J Dorso,   119 Woehrle Ave,    Staten Island, NY 10312-1943
smg            +NYC Department of Finance,    345 Adams Street,    Office of Legal Affairs,
                 Brooklyn, NY 11201-3739
smg            +NYS Unemployment Insurance,    Attn: Insolvency Unit,    Bldg. #12, Room 256,
                 Albany, NY 12240-0001
9136313         Citibank,   Centralized Bk/Citicorp Credit Srvs,     PO Box 790040,   Saint Louis, MO 63179-0040
9136314         Citibankna,   1000 Technology Dr,    O Fallon, MO 63368-2239
9136319         Rushmore Loan Mgmt Ser,    15480 Laguna Canyon Rd,    Irvine, CA 92618-2132
9136321         Santander Bank NA,   865 Brook St,    Rocky Hill, CT 06067-3444
9136324         Visa Dept Store National Bank/Macy’s,    Attn: Bankruptcy,    PO Box 8053,
                 Mason, OH 45040-8053
9136325         Wells Fargo Bank,   c/o Stein, Weiner & Roth, LLP,     1 Old Country Rd Ste 113,
                 Carle Place, NY 11514-1847

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov May 03 2018 18:31:32
                 NYS Department of Taxation & Finance,    Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov May 03 2018 18:31:04
                 Office of the United States Trustee,    Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,    201 Varick Street, Suite 1006,     New York, NY 10014-9449
9136309        +EDI: RMCB.COM May 03 2018 22:28:00      Amca,    2269 S Saw Ml,   Elmsford, NY 10523-3832
9136310         EDI: CAPITALONE.COM May 03 2018 22:28:00       Capital One,   15000 Capital One Dr,
                 Richmond, VA 23238-1119
9136312         EDI: CITICORP.COM May 03 2018 22:28:00      Citi Bank,    PO Box 183113,
                 Columbus, OH 43218-3113
9136311         EDI: CAPITALONE.COM May 03 2018 22:28:00       Capital One,
                 Attn: General Correspondence/Bankruptcy,     PO Box 30285,   Salt Lake City, UT 84130-0285
9136315         EDI: DISCOVER.COM May 03 2018 22:28:00      Discover,    PO Box 71084,
                 Charlotte, NC 28272-1084
9136316         EDI: TSYS2.COM May 03 2018 22:28:00      Dsnb Macys,    PO Box 8218,    Mason, OH 45040-8218
9136317         EDI: CBSKOHLS.COM May 03 2018 22:28:00      Kohls/Capital One,    Kohls Credit,    PO Box 3043,
                 Milwaukee, WI 53201-3043
9136318        +EDI: CBSKOHLS.COM May 03 2018 22:28:00      Kohls/capone,    N56 W 17000 Ridgewood Dr,
                 Menomonee Falls, WI 53051-7096
9136320         E-mail/Text: bankruptcy@savit.com May 03 2018 18:32:01       Sa-Vit Collection Agen,
                 46 W Ferris St,    East Brunswick, NJ 08816-2159
9136322         EDI: TFSR.COM May 03 2018 22:28:00      Toyota Motor Credit,    4 Gatehall Dr Ste 350,
                 Parsippany, NJ 07054-4522
9136323         EDI: TFSR.COM May 03 2018 22:28:00      Toyota Motor Credit Co,    Toyota Financial Services,
                 PO Box 8026,    Cedar Rapids, IA 52408-8026
                                                                                               TOTAL: 13

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 05, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 3, 2018 at the address(es) listed below:
              Kevin B Zazzera   on behalf of Debtor Michael J Dorso kzazz007@yahoo.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
              Robert J Musso   rmusso@nybankruptcy.net, NY52@ecfcbis.com
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1              Michael J Dorso                                           Social Security number or ITIN   xxx−xx−5841
                      First Name   Middle Name   Last Name                      EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                        Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of New York

Case number: 1−17−45950−cec



Order of Discharge and Final Decree                                                                              Revised: 12/15



IT IS ORDERED:

A discharge under 11 U.S.C. § 727 is granted to:

           Michael J Dorso




IT IS FURTHER ORDERED:

        • Robert J Musso (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and
          the bond is cancelled.

        • The Chapter 7 case of the above−named debtor(s) is closed.



                                                                    BY THE COURT

Dated: May 3, 2018                                                  s/ Carla E. Craig
                                                                    United States Bankruptcy Judge




                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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                             EXPLANATION OF BANKRUPTCY DISCHARGE
                                      IN A CHAPTER 7 CASE
      This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of
the case and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged.
For example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue
a lawsuit, to attach wages or other property, or to take any other action to collect a discharged debt from
the debtor(s). A creditor who violates this order can be required to pay damages and attorney's fees to the
debtor(s).

       However, a creditor may have the right to enforce a valid lien, such as a mortgage or security
interest, against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the
bankruptcy case. Also, a debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
        The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was
filed. (If this case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7,
the discharge applies to debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

    Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

    a. Debts for most taxes;

    b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

    c. Debts that are domestic support obligations;

    d. Debts for most student loans;

    e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

    f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or
    aircraft while intoxicated;

    g. Some debts which were not properly listed by the debtor;

    h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are
    not discharged;

    i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation
    agreement in compliance with the Bankruptcy Code requirements for reaffirmation of debts;

    j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift
    Savings Plan for federal employees for certain types of loans from these plans (in a case filed on or
    after October 17, 2005).

        In addition, this discharge does not stop creditors from collecting from anyone else who is also
liable on the debt, such as an insurance company or a person who cosigned or guaranteed a loan.

      This information is only a general summary of the bankruptcy discharge. There are
exceptions to these general rules. Because the law is complicated, you may want to consult an
attorney to determine the exact effect of the discharge in this case.

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